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 9
10                                    UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                            SAN JOSE DIVISION

13

14   UNITED STATES OF AMERICA,                        ) CASE NO. CR 15-00226 BLF
                                                      )
15           Plaintiff,                               ) NOTICE OF APPEARANCE OF COUNSEL
                                                      )
16      v.                                            )
                                                      )
17   DOUGLAS STROMS YORK,                             )
                                                      )
18           Defendant.                               )
                                                      )
19

20           The United States Attorney’s Office hereby files this notice of appearance of counsel to advise
21 the court that Assistant United States Attorney Jeffrey Schenk will appear as counsel on behalf of the

22 United States. Please have future ECF notices also sent to jeffrey.b.schenk@usdoj.gov.

23

24 DATED: July 7, 2015                                           Respectfully submitted,
25                                                               MELINDA HAAG
                                                                 United States Attorney
26
                                                                           /s/
27
                                                                 JEFFREY SCHENK
28                                                               Assistant United States Attorney

     NOTICE OF APPEARANCE OF COUNSEL
     CR 15-00226 BLF
